Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 1 of 10 Page ID #:7




      EXHIBIT A
             Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 2 of 10 Page ID #:8                   a;:s I L.1.,;U4�<t f

                                     Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Katherine Chilton




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           1507 Arlington,
           Los Angeles, CA. 9001M553
                TllLl.'l'HatE I«>: 818·290-3838                                       l'AXNO. �818-290-3848
        �L ADDRE8li! topbtlnll1J!
1        -��,.OR�:��lle�ma Gal'.£!&, '"'l'�!'er .
    SUPERIOR COURT Of CALIFORNIA, COUNTY OF Los Angeles                                                                                     I
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                                         North Hill Street
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                  MANCtt NMt&: Stanley Moak Courthouse                                                                                      I
    --·PiAINTtr:F: Jufiinnalfarcli:"Anln'dWiauar.
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                DEFENDANT: MOROCCANOIL,                        INC. and,

    [!J DOES 1 TO 50
                 Jrr=W ,..,._..a..,.._. ,,
                                     ·-········
                                               ......... .. ..
    COMPLA1NT-hrsonal Injury. Prvperty Damage, Wrongful Death
         ·-                                              __ .__ __                                               _,_         __   _. ____




         0 AMENDED·(llJ.lmHr):
    ,.,... (ohHlc .n ""'t •""'1J:
    CJ MOTOR VBHICLE r::J OTHER (specify}:
         C:l Property Dflmege t::J Wrongful Death                                                                                           i
        _J,_J Pe1S0nal lnJury             ____           � Olher Danulg!!_(�l:AD�UNR��c:r. -------
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    JurllldlOUOft (dtetik .,, that epply):
    t?.:J AC110818 A LIMITED CML CASE
          AmountcMmlncled D ·clonnot•mtee1'10.000
                                               1¥1 ..,... $10,000, but ... not exceed $25,0GO                                                   22STLC04327
    r:J ACTION IS AN UNUMITED CIVIL CASI!' (exoeieda $25,000)
    r. --j ACTION IS RICLASSfFIED bf thl9 amended complaint
           r=i hm lfmltecl to unllmlted
           [ .....j from....unllinffH
                             .   ....  ....
                                      to limited
                                              -      .. ..... .. -
   Plaintiff (l'tfl/1Je ornamn): Julianna Garcia, An lndlvlduaJ,
....... ...__      _.,.._      __ _,_     -·      -.·-    ·-       ..   ...�...   .    - .


1.
   alleges CBUJi88 of.l!IClfon agal� defendant (name or nflfl'lltsJ:
   MoRoccANOIL. INC. and DOES 1 TO 50,
2. Thlt pleadfng, lrlcludlng attachments and exhibits. consists of the following number of pages:
3. EaGh plMitlff named abOve le a competlmt adult
        •·   CJ UNPt plalntll (name):
                (1) CJ a corporation qualified to do busineas In California
                (2) D an unincorpo'8ted enllty (dftsoribeJ:
                (3) D • public entity (describe):
                (4) D • minor D an adult
                                (a) r- .., for whom s guardian or conseMllor of the estate or a guardian ad lltsrn has been appointed
                     (b) CJ other (apeolfy}:
             C5l D   other (spedfyJ:
        b. D exnp1 PfaJntt (nsmeJ:
             (1) D • ccrparallOn qualHled to do buslM8s In Callfomla
             (2) D ., unlncorp«ated. entity (dHfllibe}:
             (3) D a pubffc entity ldescrlbeJ:
             (�j D a mlttor CJ an adult
                     (a) CJ for whom a guardian or conservator of the estate or a guanlan ad Item haa been appamted
                     (b) D ottier lspeclfyJ:
             <5> D o1t1et fspliCJfl}:
     D         lnfonnatton about additional plaintiff$ who are not competent adults la shown in Attachment 3.
                                                                                                                                                                    ....I. GU


�                                                                  CQMPLAINT-4t__. Injury, Propq                                                     Cndll arCMI� IG.11
                                                                                                                                                                -Gdrdnlb.•-..·
�jiW;J                    . ,10Q1J                                                    Damage, Wrongful.,....

                                                                                                                                                                Exhibit A
                                                                                                                                                              Page 1 of 9
           Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 3 of 10 Page ID #:9


                                                                                                                                               PLD.Pl.001
                                         ....



I
      SHORT TITlE:                                                                                                 CASE NUMBER:

 JULIANNA GARCfA V. MOROCCANOIL, INC.
                         ----------


 4.    D Plalntnr (nameJ:
                 Is   doltlg buslneSB under the fictitious name (specify):

           .-id haa complied will lf'le fictitious business name lawr;.
5. Each defeodant IWl'ied ab,ove Is a      natural penion
       •• � exc�defendant (INtme);MOROCCANOIL, INC.                            c.   D 9XCePt defendant <nfl!IJ(t):
              (1) CJ a b&lllfnees organlzaflon, form unknown                          (1) ! .:�-: a bu8ineaa organization, form unknown
                      (2) t� a eotp0r8tion                                               (2) C! a col'pC)IBtlon
                      (3) [:Jan unl�entlty (deBClfbe):                                   (3) C.J an unlnoorporalad entity (de!Qribe):

                      c•)   D a public ent1ty (describe}:                                (4)   i.:'J a public entity (dNCribe):
                      (5J CJ ceher (sp«IM:                                               (5) r-1 other (.,,.cffy):



      b.   CJ except defendant (name).'                                        d.   L:J except defendant (name):
                      (1) D a buslneas org&r\IZ*ton, form untcnown                       (1)       -
                                                                                                       -
                                                                                                           a buslneu organtzetfon, form unknown
                                                                                         (2)                   corporation
                                                                                               •


                      (2) C..r a corporation                                                               a
                      (3) LJ an unincorporated entity (desetiblJ):                       (3)   L_J an unincorporated entity (describlJ):

                      (4) r    ;   • publtc erC1ty r�J:                                  (4) ;::J a public anllty (desClibe};

                      (5) Cl other (spePfy}:                                             (5) :-1 other (specify):

       O         Information about     additional defendanta who are not natural persons iS contained in Attadlment 5.
6.      The true names of defendanltl sued as Ooes are unknown to plaintiff.
        a.   � Doe d«endants (speclll/ D<» 11lllflbM): 1·25                                            . were tha agents or employees of other
                        named d.efendan1s and aotBd wllhln the scope of that ageneyor employment.
        b.   � Doe dclf'endanta (IJ/»c/fy Doe numbel'B):�                                      ··-         are persona whoae capacities are   unknown to
                        pJalnlf.
7.     [ _...J   Defendants who are joined under Code of Clvff Procedure section 382 are               (names):



a.      Thie oourt is Iha properoourt because
        •· CJ at least one defendant now reaidea in ila jurisdlctlonal area.
        b. L-i the principal place of business of a defendant oorporatfon or untnoorpcxated aasociatlcn ls In Its juriadk:ti>nal area.
        c. � injury lo peraon or damage t.o pBfBOnal property ocourted In Ila jutlsdlctionaf area.
        d. D other flll*l/yJ:



9.     D Plaintiff. la teqUfred to comply with a claims statute, and
       a. D has c:omplled with appbble Cfalm8 llhll.Utes, or
       b. D 1s � from �g �use (specify):




                                                                                                                                                  Paauon




                                                                                                                                            Exhibit A
                                                                                                                                          Page 2 of 9
         Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 4 of 10 Page ID #:10



 rSHORT         TITI..E:
   ULIANNA GARCIA V. MOROCCANOIL, INC.
                                                                     ' "V "'      '-•-'•• •••• V'"N�' ' '"




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                                                                                                                                  CMENUMBeR:             PLD·Pl-001



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  1 O.    The followlng causes of action am attached and the &tate"'*lts above apply to each                                 (each oompleint. must haWI �or more
          ..... ot action attadled):
          a. 0 Motor· Vehicle
          b. D General Negllgence
          c..   C:J Intentional Tort
          d.    D Products Liabilitv
          e. D Prem!... Uablllty
                l?'J
                                   .


          f.              Other (speclfyJ:
                ADA/UNRUH ACT




 11.      Plaintiffhas suffered
          a.    D wage loss
          b. D to.ls of use of property
          c:. CJ hoap1tal end medical 9)(ptl'1Ses
          d. [.::J general damage
          e. D property damage
          t. L _I tou d eanmu capacity
          g. [�J ottlerdamage(eipec:lfy}:
                DISCRIMINATION AND INCONVENIENCE




 12. CJ The damages dalmed for wrongful death and the relationships ofplafntiff to the deceased are
     a. LJ ll1ted In Attachment 12.
     b, [_] as follows:




 13. The relief sought In this complaint is within the jurisdiction of this court.



1.4. Plllntlff prep for judgment for casts of suit; for such relief n is fair, just, and equitable; and for
         a. (1) (71 compensatory damages
            <2> D pun1t1ve damages
            The·amount ofCilatnages itl (In ceu.s forP•l'tlOflal Injury or WfOflflu/ death, yoci must olHlck (1)):
            (1) 1-1 acoordlng to proof
            (2) LtJ in the amount of: $ 4000.00 Minimum.
15.      r:J The p81'8graphs d this comptainl aleged on information and belief are as follows (specify Pflf'llQl'flph numbers):
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                                                                                                             /
Julianna Garcia, In Pro Per

                                                                        OMPLAIN�
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                                             ,-.,,,.-.N-, ==>n=�,,                         ""-�,,,,..... m




                                                                               Damage. WrfJfi!lful


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      Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 5 of 10 Page ID #:11

                                                                                                                                      MC-025
   SHORT TITLE:
                                                                                             CASE NVM!Jl!ft:
                                                                                                                                               "'l
     JULIANNA GARCIA V. MOROCCANOIL, INC.
                                                                                                                                           , , ..J
                                                          ATTACHMENT (NumluHJ: 1 ·Verffled Compl
                                                                                                           ,,,,_,____,�-          ·   ''




                                        (This Attachm&nt may bit used with any Judicial Councll form.}
 FIRST CAUSE OF ACTION
 (PLAINTIFF AGAINST All DEFENDANTS)
VIOLATION OF CIVIL CODE SECTIONS 51, 52, 54 and 54.1


1. Plaintiff Is ignorant of the defendants sued as DOES 1 TO 50.
Once the names are ascertained, Plaintiff will amend the complaint to reflect those names.


2. At all times mentioned herein Defendant MOROCCANOIL, INC., and DOES 1 TO 50, is doing business on the website,
known u http://www.moroccanoll.com/ ("WEBSITE"). The Defendant's physical address ls located at 16311 Ventura
Boulevard, SUite 1200, Encino, Callfomla 91436-2152.


3. At all times mentioned herein JULIANNA GARCIA has been, disabled. "Disability" means any mental or phyaical disabllity
as defined In SectioM 12926 and 12926.1 of the Government Code. Civil Code Section 51 (e)(1 )                  .




4. Plaintiff has visited Defendant's public accommodation WEBSITE and hie           been denied full and equal accommodations,
advantages, facilities, privileges, or services In all business establishments of every kind w hatsoever.• (Civ. Code, § 51,
subd. (b).)

S. Through their WEBSITES, Defendants offer vital data such as: research tools, information, de1a to compare
accommodations, purchasing products, offering of services, products for online sale and home delivery to the public.


6. The WEBSITE's baniers have previously denied Plaintiff full and equal access to all of the services Defendant's WEBSITE
offers, and now deter Plaintiff from attempting to use Defendant's WEBSITE in the future.

7. Despite their disabllities, Plalntiff Is able and ready to visit Defendant's WEBSITE once 11 ls made compliant. Plaintiff's
dlsablllties. end the challenges Plalntiff face In physically traveling to and shopping in traditional brick-and-mortar retailers
es a reault of them, make It particularly likely that Plaintiff wlll return to Defendant's WEBSITE in the future to purchase
Defendant's goods from the comfort of their homes.


8. A.a a result of having visited Defendant's WEBSITE in the past, and of investigations performed on P laintiffa behalf,
Plalnttff is aware that Defendant's WEBSITE provides insufficient access to disabled persons. The following eubparagraphs
detail some of the defects with the WEBSITE:


a. A proper text equivalent for every non�text element is not provided. Does not pro'lftde appropriate alternative text that
presents the content of the Image and/or the function of 1he Hnk. All non-text content that Is presented to the uaer has a
text alternative that serves the equivalent purpose;


b. Information about the meaning and structure of content is not conveyed by more than the vlsual presentation of content;
c. AR functionality of 1he content of the website Is not operable through a keyboard interface requiring specific timings for
lndividu•I keystrokes. The website cannot be navigated with a keyboard and/or the navigation of the website with the
keyboard Is not coBllatent across the �te. All functionality ii not available from a keyboard.




 (lftha ftm that th/$ Altachrnsnt concerns is made under penally ofpeljury, all statements Jh this                  Page!__ of?.___
 Attachlnent are madt under penalty ofperjury.)
                                                                                                                   (Add pages Bl required)
                                                            ATTACHMENT
                                                       te Jadlclal Council Fonn

                                                                                                                                Exhibit A
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       Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 6 of 10 Page ID #:12

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                                                                                                                                                          MC..025
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          �-'""""




         JANNA GARCIA V. MOROCCANOIL, INC.
          ---�-·----� ·»»••---•-•••-»•·                                                   -------,.,...,,,.,,,.-www _,.,,,., ,

                                                                           ATTACHMENT (NumbBr): 2-Verlfted ComeJ
                                      (This Atlsc:hment may be IJ$ed Wflh MIY JudlclBJ Councfl form.)
 I. Navigation of the website Is not consistent acron the website. A mechanism Is not always available to bypass blocks of
 content that are repeated on multiple web pages. Navigational mechanisms that are repeated on multiple Web pages within
 a set of Web pages does not occur In the same relative order each time they are repeated;

II. Plaintiff has performed a detaDed Investigation and Plaintiff alleges under information and belief that the WEBSITE lacks
"titles that describe their topic or purpose.• All form subml88fon error messages identify any empty required fields. Upon
receiving discovery, this paragraph w ill be amended. The purpose of each Unk cannot be determined from the link text
alone or fiom the ftnk text and Its programmattcally determined link context;

9. Defendanfs WEBSITE fails to comply with Web Content Accessibility Guldellnes Version 2.0 (-WCAG 2.0 AA.j, Unruh Act
end ADA.

10. If the WEBSITE were accesbsi le, I.e. if Defendant removed these barriers, Plafntlff could Independently have equal
access to the entire WEBSITE.


11 Plaintiff has performed a detailed Investigation and Plaintiff alleges under Information and bal let that ahhough it
   •



appears that the Defendant does not have centratlzed policies regarding the maintenance and operation of Its WEBSITE, It
appears frorn en alm081 exhaustive review that Defendant hu never had a plan or policy that is reasonably calculated to
make Its WEBSITE fully accessible to, and independently usable by, indlvlduals with disabilities. As a result, the complained
of access barriers are permanent In nature and likely to persist. Upon receipt of discovery, Plaintiff shall amend the
complaint to reflect such information as needed.

12. The law requires that Defendant's WEBSITE be accessible to Plaintiff and othe rs with dlsablllties. Removal of the
barriers identified above la readi ly achievable and may be carried out without much difficulty or expense.

13. Removal of these barriers would make Defendant's WEBSITE accessible to Plaintiff aDowing him to independently shop
for and perform research via Defendant's WEBSITE.


14. Inaccessible WEBSITE violated the Unruh Civil Rights Ac.t. (Civ. Code, § 51 at seq.) which mandates "full and equal
acc:ommodations, advantages, facilities, privileges, or services in all business establishments of every kind whatsoever.•
(Civ. Code,§ 51, subd. (b).)

15.Under subdivision (f). Section 302(a) of Title Ill of the ADA,42U.S.C.§12101 et seq., provides: •No Individual shall be
discriminated against on the basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,
advantages or accommodations of any place of public accommodation by any person who owns, leasu (or lease s to), or
operates a place of public accommodation.• 42U.S.C.§12182(a).

16. As a reference, Defendant's WEBSITE Is a public accommodation within the definition of Title Ill of the ADA., 42 U.S.C. §
12181(7).




 (If tho Item thlll th/$ Atteuhment ooncems is .mads under penalty ofperjury, ell statements in this                                  Pap5           ot7
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                                                                                  ATI'ACHMENT                                                  -.t:llC#fbllO.Clt.004'

                                                                  to Judicial Council                                    Form


                                                                                                                                                   Exhibit A
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      Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 7 of 10 Page ID #:13


  SHORT Tlft,E:
   JULIANNA GARCIA V. MOROCCANOIL, INC.

                                                             ATTACHMENT (Nl.lmlier): 3-Verified Compl
                                        (Thllr Attachment may be used w1'th any Judicial Council form.)
17. Unlawful discrimination alao includes, among 01herthlngs: a falklre to make reasonable modifications In policies,
practicee or procedures, when such modifications are necessary to afford such goods. •ervices, facilities, privileges,
advantages or accommodations to Individuals with disab ilities, unless the entity can demon� that making such
modifications would fundamentally alter the nature of such goods, services, facltltles, prfvil e ges, advantages or
accommodations; and a fallure to take such steps as may be necessary to ensure that no individual With a disability is
excluded, denied services, segregated or otherwise treated differently than other individuals because of the absence of
auxillary aids and services, unless the entity can demons1rate that taking such steps would fundamentally alter the nature
of the good, service, facility, privilege, advantage or accommodation being offered or would result In an undue burden.

18. Through Civ. Code,§ 51, subd. (f), Title Ill of ADA requires that •[a) pub l ic accommodation shall furnish appropriate
auxiliary aids and services where necessary to ensure effective communication with individuals with disabilities." 28 C.F.R.
§ 36.303(c)(1).

19. Plelntlffs have not been provided services that are provided to other patrons who are not d isabled, and/or have been
provided seNices that ere inferior to the services provided to non-disabled persons. Defendant has failed to take any
prompt and equitable steps to remedy Its discriminatory conduct. These violations are ongoing.

20. Plelntlffl' claims are warranted by existing law or by non"frivolous argument for extending, modifying, or revers ing
existing law or for establishing new law.


21. The Unruh Clvil Rights Act also provides that a "violation of ... the fedend Americans With Disabilities Act of 1990 ...
shall also constitute a violation of this section.• Civ.
                                                      Code,§ 51, aubd. (f). "On examining the language. statutory context,
and history of section 51, s ubdivis ion (f), we conclude   (t]he LeglslatW"e's intent In adding subdlvl$fon (f) was to provide
                                                              • . .



disabled C81lfomian s injured by violations of the ADA with the remedies provided by section 52. A plaintiff who establishes
a vlolatlon of the ADA, therefor e, need not prove Intentional discrimination In order to obtain damages under section 52."
Munson v. Del Taco, Inc. {2009) 46 Cal.4th 661, 665 .

22. Purauant to Civil Code Section     52(a) and the remedies, procedures and rights set forth and incorporated therein,
Plaintiffs request rellef as set forth below.


23. The Instant complaint is a sole claim under Unru h as the event happened in the state of Califomia and the federal laws
are for reference purpoaea.




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Attachmflnt .mt made tmrlerpenalty ofperjury.)
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                                                             AlTACHMENT
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                                                                                                                        Exhibit A
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     SHORt T!Tl.,E:
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      ,JULIANNA GARCIA V. MOROCCANOIL INC
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                                                         ATTACHMEN T (Number): 4-Verffied Compl
                                       (This Attachment may be used with any .Judicial CouncJI form.}
PRAYER

WHEREFORE, PLAINTIFF PRAYS FOR JUDGMENT AGAINST THE DEFENDANTS, AND EACH OF THEM, AS FOUOWS:

1.   A minimum of $4,000.00 in statutory damages;

2. For attorney's fees and costs;

3. For such other and further relief as to the Court seems just and proper.




(Ifthe Item thal �Atta'Chmsnt t:oncems is made under penalty ofperjury, all 6ta'9menls lh this                     Pqe!_ot7
AUadltnent are ln8d9 unr:ler penalty ofpeljUty.)
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                                                         ATTACHMENT
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                                                                                                                               Exhibit A
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             Case 2:22-cv-05307-MRW Document 1-2 Filed 07/29/22 Page 9 of 10 Page ID #:15

                                                  VERIFICATION
         STATE OF CALIFORNIA, COUNTY OF Los Angeles
         I have r8$d the foregoing COMPLAINT                                                                ---·-                     -···-·--·--------·'"'----··-·------·�·..----·---·---·· ·
                                                                                                                                                                                            ·                                            --
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                                                                                                                                                                                                           and know Its contents.

                                                                            W CHECK APPLICABLE PARAGRAPH
 [�      I am a     party to this    action. The matters stated                          in the foregoing document                   are    true       of my own knowledge except as to                                   those matters
        whid\ in stated on information and belief, and as to those matters I believe them to be true.
 0       I am     0       an Officer    0 a partner                                                [£] a elalntiff. lrtPro P�L
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        � I am informed and berieve and on that ground a ll ege that the matters staled in the foregoing c:tocument are true. � The metters
                                                                                       on



        staled in lhe foregoing dOOUl'Tltnt are true of my own knowledge except as lo those matters which are stated on information and belief,
        and as to those matters I belieV& them to be true.
D       I am one of the attorneys for
        a party to this action. Such party is absent rr0m tJuicounfy_Of_aforesaid where-such attOmeyshave lheif offices, a-rld I make-this
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        I declare under penally of perjury under the laws of the State of Callt
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        Julianna Garcia, In Pro Per
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                                                                                              PROOF OF SERVICE
       STATE O.F CALIFORNIA, COUNTY
       Qfih employed in the county of                                                    --��---�-..··--��·-····


        I am     over   the age of   18 and not a party to the within action;                         my business address is:
                                                                                                                                                                           �
        �---�--------------·-··_...._,______�-·...-----�N-•••o'-' W•<·•----------...·--�---�·---..-.-�--                                                        ••·-··--    ·•••••••••••'   •   _.,_..._._,,,,.,g,,.,.,..____..,_�_.._..._




       On      __...............
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                                                                                                   sealed envelope addressed as foiiows:-                                              --        ·

       fn thi.s action by placing a true copy thereof enclosed In
                                                                                                                                                                     -                                                               -
                                                                                               a                                                                           -                    ..· --------· --- -····-..-           -




D (�Y MAiL) I caused such envelope postage thereon fully prepaid to be placed In Iha United Stales man                                                                               at                        �          ···        -    .




                                                                                         , Callfomia.
                                                                                                                                                                                                           �          ·       ··   .
                                                                                                                                                                                            ------                 ··· --�       -. � ·..




       Executed on                                                                             , 20             at ..                                                                                                           California.
[_ ] (BY PERSONAL SERVICE} I caused sucti envelope to be delivered by hand to the offices of the addressee.
                                                                                                            ,               .            ··--....-. .........._�--��-·�-·------·--·---                                      •




       Executed on                                                                                                                                                                                                         , California.
 __


                                         ...   .. .
                                                           .. .   __                           ,   20 __ at ,
                                                                                                                                                                                 .




f ] (State)                 I declare under penalty of perjury under the laws of the State of Cslifomie that the above Is true and correct.
D (F8derat)                 l.dectare that I aM employed in ttle office of a member of the bar of this court at whose direclion the service � made.



13-11159941111


                                                                                                                                                                                                                  Exhibit A
                                                                                                                                                                                                                Page 8 of 9
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                                  22STLC04327




                                 SUMMONS
                      (CITACION JUDICIAL)
NOTICE TO .QEFENDANT:
(:AVIS() AL QEflWlDADO}:
MOROCCANOIL, INC. and DOES 1 TO 50,


YOU ARE BEING SUED BY PLAINTIFF:
(LO esrA OSIANOANDO EL DElllANDANTI!):
Jullanna Garcia, An Individual,




                        3.   �   ...   �on behalf of (specify): ;t1tP nJ C <:. aYI 0 f /   ,.   :tAf(!_   •




                             under:         CE( CCP 416.10 (corporation)                 j; CCP 416.60 (mh>r)
                                            C:J CCP 416.20 (defunct coiporatioo)         CJ CCP 416.70 (conservatee)
                                            C-.....J CCP416.40 (assoclaUan orpartnenmip) O CCP416.90 (authorized person)
                                            CJ other (specify):
                        4.   L..vby personal delivery on (date):
                       ··-�'if'"�"'�'                                                                                    .•..• •...•..l!Y!..1 of1


                                                            SUMMONS                                           Ca*ol CW "-dulw.S. 41Ull, 4811
                                                                                                                          -�111'1'


                                                                                                                               Exhibit A
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